         Case 1:21-cv-02158-APM Document 35 Filed 09/28/22 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


OYOMA ASINOR, and

BRYAN DOZIER

                               Plaintiffs,

v.                                                    No. 1:21-cv-02158 (APM)

DISTRICT OF COLUMBIA, et al.

                              Defendants.


                                     NOTICE OF APPEAL
       All Plaintiffs in this action hereby appeal to the United States Court of Appeals for the D.C.

Circuit from this Court’s August 29, 2022 Memorandum Opinion and Order, ECF 33 & 34, insofar

as they dismiss Claims 1, 2, 3, 4 and 6 of Plaintiffs’ Second Amended Complaint, ECF 24.


Dated: September 28, 2022                     Respectfully Submitted,
                                              /s/ Michael Perloff
                                              Michael Perloff (D.C. Bar No. 1601047)
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